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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF GEORGIA
                            MACON DIVISION

UNITED STATES OF AMERICA           :
                                   :           CRIMINAL NO. 5:21-MJ-___8__
      vs.                          :
                                   :
WILLIAM McCALL CALHOUN, JR. :
__________________________________ :

                 GOVERNMENT’S MOTION FOR DETENTION

      COMES NOW the United States of America, by and through its attorney, the

United States Attorney for the Middle District of Georgia, and requests that the

defendant be detained pursuant to 18 U.S.C. § 3142(e) and (f), and in support of said

motion shows the following:

1.    Reason for Detention.

      The Court should detain the defendant because there are no conditions of

release which will reasonably assure (check one or both):

      ☒      the defendant’s appearance as required; and/or

      ☒      the safety of any other person or the community.

2.    Eligibility of Case.

      This case is eligible for a detention order because it involves (check all that

apply):

      ☐      a crime of violence (18 U.S.C. § 3156), sex trafficking (18 U.S.C. § 1591),

             or a federal crime of terrorism (18 U.S.C. § 2332b(g)(5)(B)) for which a
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               maximum term of imprisonment of ten years or more is prescribed;

         ☐     an offense for which the maximum sentence is life imprisonment or

death;

         ☐     a drug offense with a maximum term of imprisonment of ten years or

more;

         ☐     a felony where the defendant has two or more prior convictions in the

               above three categories, or two or more State or local offenses that would

               have been offenses in the above three categories if a circumstance giving

               rise to Federal jurisdiction had existed, or a combination of such Federal,

               State or local offenses;

         ☐     a felony which is not otherwise a crime of violence that involves (1) a

               minor victim, (2) the possession or use of a firearm or destructive device

               (18 U.S.C. § 921), or any other dangerous weapon, or (3) a failure to

               register as a sex offender (18 U.S.C. § 2250);

         ☒     a serious risk that the defendant will flee; or

         ☒     a serious risk that the defendant will obstruct or attempt to obstruct

               justice, or threaten, injure, or intimidate, or attempt to threaten, injure,

               or intimidate, a prospective witness or juror.

3.       Rebuttable Presumption (optional).

         If set forth below, the Government invokes the rebuttable presumption that no

condition or combination of conditions will reasonably assure the safety of any other

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person and the community, pursuant to 18 U.S.C. §§ 3142(e)(2) and 3142(e)(3), because

(check all that apply):

      ☐      there is probable cause to believe that the defendant committed a drug

             offense with a maximum term of imprisonment of ten years or more;

      ☐      there is probable cause to believe that the defendant used or carried a

             firearm during and in relation to a crime of violence or drug trafficking

             crime, or possessed a firearm in furtherance of any such crime (18 U.S.C.

             § 924(c));

      ☐      there is probable cause to believe that the defendant committed an

             offense involving a minor victim, as set forth in 18 U.S.C. § 3142(e)(3)(E);

      ☐      there is probable cause to believe that the defendant conspired to kill,

             maim, or injure persons or damage property in a foreign country (18

             U.S.C. § 956);

      ☐      there is probable cause to believe that the defendant committed an act of

             terrorism transcending national boundaries (18 U.S.C. § 2332b) or a

             federal crime of terrorism as set forth in 18 U.S.C. § 2332b(g)(5)(B) for

             which a maximum term of imprisonment of ten years or more is

             prescribed;

      ☐      there is probable cause to believe that the defendant committed a crime

             of peonage, slavery or human trafficking for which a maximum term of

             imprisonment of 20 years or more is prescribed (18 U.S.C. §§ 1581-1596);

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           or

     ☐     the defendant has been convicted of a Federal offense that is described

           in 18 U.S.C. § 3142(f)(1), or of a State or local offense that would have

           been an offense described in § 3142(f)(1) if a circumstance giving rise to

           Federal jurisdiction had existed; the offense was committed while the

           defendant was on release pending trial for a Federal, State, or local

           offense; and a period of not more than five years has elapsed since the

           date of conviction for the offense, or the release of the defendant from

           imprisonment, whichever is later.

4.   Time for Detention Hearing.

     The Government requests that the Court conduct the detention hearing:

     ☒     at the initial appearance; or

     ☐     after a continuance of three days.




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      The Government requests leave of Court to file a supplemental motion with

additional grounds or presumption for detention should this be necessary.

      RESPECTFULLY SUBMITTED, this 14th day of January, 2021.

                                      PETER D. LEARY
                                      ACTING UNITED STATES ATTORNEY

                               BY:    Leah E. McEwen
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                            CERTIFICATE OF SERVICE

      I, Leah E. McEwen, Assistant United States Attorney, hereby certify that I

electronically filed the within and foregoing Government’s Motion for a Detention by

electronically filing said motion with the Clerk of the Court using the CM/ECF

system.

      This this 14th   day of January, 2021.

                                        PETER D. LEARY
                                        ACTING UNITED STATES ATTORNEY

                                 BY:    /s/ Leah E. McEwen
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